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                            UNITED STATES BANKRUPTCY COURT
                            NORTHERN DISTRICT OF MISSISSIPPI
                                    OXFORD DIVISION

IN RE:                              :                 CASE NO: 17-13748-JDW
                                    :                 CHAPTER: 13
                                    :
TAMERAL JOHNSON                     :
     Debtor                         :
---------------------------------- --                 ----------------------------------
SELECT PORTFOLIO SERVICING, INC. AS :
SERVICER FOR U.S. BANK N.A., AS     :
TRUSTEE, ON BEHALF OF THE HOLDERS :
OF THE J.P. MORGAN MORTGAGE         :
ACQUISITION TRUST 2006-HE2 ASSET    :
BACKED PASS-THROUGH                 :
CERTIFICATES, SERIES 2006-HE2,      :
     Movant,                        :
                                    :                 CONTESTED MATTER
vs.                                 :
                                    :
TAMERAL JOHNSON                     :
RAY JOHNSON, Co-Debtor              :
LOCKE D. BARKLEY, Trustee           :
     Respondents.                   :
                                    :

                     MOTION FOR ABANDONMENT AND RELIEF
            FROM AUTOMATIC STAY AND CO-DEBTOR STAY (REAL PROPERTY)

       Select Portfolio Servicing, Inc. as servicer for U.S. Bank N.A., as trustee, on behalf of the

holders of the J.P. Morgan Mortgage Acquisition Trust 2006-HE2 Asset Backed Pass-Through

Certificates, Series 2006-HE2 (“Movant”) hereby moves this Court for abandonment, pursuant to 11

U.S.C. § 554, and relief from the automatic stay pursuant to 11 U.S.C. § 362 and Co-Debtor relief

pursuant to 11 U.S.C. § 1301, with respect to certain real property of the Debtor having an address of

6717 BRANCH ROAD SOUTH, OLIVE BRANCH, MS 38654 (the “Property”), for all purposes

allowed by law, the Note (defined below), the Deed of Trust (defined below), and applicable law,

including but not limited to the right to foreclose. Ray Johnson is the Co-Debtor on the loan that is

the subject of this Motion. In further support of this Motion, Movant respectfully states:

       1.      The Debtor has executed and delivered or is otherwise obligated with respect to that

certain promissory note in the original principal amount of $112,500.00 (the “Note”). A copy of the
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Note is attached hereto as Exhibit “A”. Movant is an entity entitled to enforce the Note.

       2.      Pursuant to that certain Deed of Trust (the “Deed of Trust”), all obligations

(collectively, the “Obligations”) of the Debtor under and with respect to the Note and the Deed of

Trust are secured by the Property. A copy of the Deed of Trust is attached hereto as Exhibit “B”.

       3.      The legal description of the Property and recording information is set forth in the Deed

of Trust, a copy of which is attached hereto, and such description is incorporated and made a part

hereof by reference.

       4.      The entity which has the right to foreclose is: U.S. Bank N.A., as trustee, on behalf of

the holders of the J.P. Morgan Mortgage Acquisition Trust 2006-HE2 Asset Backed Pass-Through

Certificates, Series 2006-HE2 by virtue of being the holder and owner of the note.

       5.      As of December 17, 2018, the outstanding amount of the Obligations less any partial

payments or suspense balance is $164,594.91.

       6.      As of December 17, 2018, there is an arrearage deficiency of $1,324.46. This figure is

comprised of the following:

Description                       From         To            Quantity     Amount            Total
Missed Payment Group 1            10/01/2018 12/01/2018 3                 $636.07           $1,908.21
Suspense Balance Credit                                      1            $-583.75          $-583.75
                                                                 Total Arrearage Deficiency:        $1,324.46


       7.      A copy of the post-petition payment history has been attached hereto as Exhibit “C.”

       8.      The estimated market value of the Property is $140,000.00. The basis for such valuation

is the Debtor`s Schedule A.

       9.      Cause exists for relief from the automatic stay for the following reasons:

               a.      Movant’s interest in the Property is not adequately protected.

               b.      Movant’s interest in the collateral is not protected by an adequate equity

                       cushion.

               c.      Postconfirmation plan payments have not been made to the standing trustee.
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               d.      Pursuant to 11 U.S.C. § 362(d)(2)(A), Debtor(s) has/have no equity in the

                       Property; and pursuant to § 362(d)(2)(B), the Property is not necessary

                       for an effective reorganization.

               e.      The Movant is entitled to an order deeming the Property abandoned by the

                       Trustee as an asset of the bankruptcy estate, pursuant to 11 U.S.C. § 554.

       WHEREFORE, Movant prays that this Court issue an Order terminating or modifying the stay

and granting the following:

       1.      Relief from the stay and Co-Debtor stay for all purposes allowed by law, the Note, the

Deed of Trust, and applicable law, including but not limited allowing Movant (and any successors or

assigns) to proceed under applicable non-bankruptcy law to enforce its remedies to foreclose upon and

obtain possession of the Property.

       2.      That the Order be binding and effective despite any conversion of this bankruptcy case

to a case under any other chapter of Title 11 of the United States Code.

       3.      That the 14-day stay described by Bankruptcy Rule 4001(a)(3) be waived.

       4.      That the Property be deemed abandoned by the Trustee as an asset of the Bankruptcy

estate effective upon entry of the Court's order.

       5.      For such other relief as the Court deems proper.



RUBIN LUBLIN, LLC

BY:/s/ Natalie Brown                                           Date:January 4, 2019
Natalie Brown
MS State Bar No. 100802
Rubin Lublin, LLC
428 North Lamar Blvd, Suite 107
Oxford, MS 38655
(877) 813-0992
nbrown@rubinlublin.com
Attorney for Creditor
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                                   CERTIFICATE OF SERVICE

        I, Natalie Brown of Rubin Lublin, LLC certify that on the 4th day of January, 2019, I caused
a copy of the Motion for Abandonment and Relief from Automatic Stay and Co-Debtor Stay (Real
Property) to be filed in this proceeding by electronic means and to be served by depositing a copy of
same in the United States Mail in a properly addressed envelope with adequate postage thereon to
the said parties as follows:


Ray Johnson
6717 BRANCH ROAD SOUTH
OLIVE BRANCH, MS 38654

Tameral Johnson
6717 Branch Rd S
Olive Branch, MS 38654

Robert H. Lomenick, Jr., Esq.
P.O. Box 417
Holly Springs, MS 38635

Locke D. Barkley
6360 I-55 North
Suite 140
Jackson, MS 39211

United States Trustee
501 E. Court Street
Suite 6-430
Jackson, MS 39201


Executed on: 1/4/2019
By:/s/ Natalie Brown
Natalie Brown
MS State Bar No. 100802
Rubin Lublin, LLC
428 North Lamar Blvd, Suite 107
Oxford, MS 38655
(877) 813-0992
nbrown@rubinlublin.com
Attorney for Creditor
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